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                             UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF MASSACHUSETTS

__________________________________________
                                                 )
In re: NEURONTIN MARKETING, SALES                )          MDL Docket No. 1629
       PRACTICES, AND PRODUCTS                   )
       LIABILITY LITIGATION                      )
__________________________________________)                 Master File No. 04-10981
                                                 )
THIS DOCUMENT RELATES TO:                        )          Judge Patti B. Saris
__________________________________________)
                                                 )          Magistrate Judge Leo T. Sorokin
HARDEN MANUFACTURING                             )
CORPORATION; LOUISIANA HEALTH                    )
SERVICE INDEMNITY COMPANY, dba                   )
BLUECROSS/BLUESHIELD OF LOUISIANA; )
INTERNATIONAL UNION OF OPERATING                 )
ENGINEERS, LOCAL NO. 68 WELFARE                  )
FUND; ASEA/AFSCME LOCAL 52 HEALTH                )
BENEFITS TRUST; GERALD SMITH; and                )
LORRAINE KOPA, on behalf of themselves and )
all others similarly situated v. PFIZER INC. and )
WARNER-LAMBERT COMPANY,                          )
__________________________________________)

              DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       In connection with the Court’s consideration of plaintiffs’ second motion for class

certification (Dkt # 1016), defendants respectfully submit copies of the February 9, 2009

Opinion and Order entered in Clark v. Pfizer Inc., June Term 2004, No. 1819 (Phila. Ct. C.P.

Feb. 9, 2009). True and correct copies of the Opinion and Order are attached hereto as Exhibits

A and B, respectively.

       The Clark action was brought “on behalf of [two named plaintiffs] and all other similarly

situated purchasers of the drug Neurontin or its generic equivalent, gabapentin, whose

prescriptions were written for off label uses not approved by the FDA.” (Ex. A at 1.) As the

Court may recall, plaintiffs have cited a prior decision in Clark in which Judge Mark I. Bernstein
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certified a class. See Notice of Supplemental Authority in Support of Plaintiffs’ Motion for

Class Certification (Pennsylvania Class Action Certified) (Dkt # 779).

       On February 9, Judge Bernstein de-certified the class, explaining:

       Since some class members have benefited from the use of Neurontin and
       other class members have not benefited, individual questions of fact are
       presented making the case unsuitable for class resolution. Individual
       questions of fact exist as to each class member to determine whether their
       off-label prescription of Neurontin was beneficial. Whether an individual
       class member suffered a compensable loss is an inherently individualized
       question which predominates making class resolution impracticable and
       possibly impossible. The motion for decertification of the class is granted.

(Ex. A at 5.) Defendants respectfully submit that Judge Bernstein’s analysis is directly

applicable to the issues under consideration.

Dated: February 11, 2009
                                            DAVIS POLK & WARDWELL

                                            By:        /s/ James P. Rouhandeh
                                                       James P. Rouhandeh

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                                                         - and -

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                                                Attorneys for Defendants Pfizer Inc. and
                                                Warner-Lambert Company




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                                CERTIFICATE OF SERVICE

         I hereby certify that this document has been served pursuant to Case Management Order
No. 3.


                                                    /s/David B. Chaffin




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